Case: 2:15-cv-02883-ALM-EPD Doc #: 363 Filed: 03/31/22 Page: 1 of 3 PAGEID #: 3759




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

  Jessica Hogan, et al                             Case No. 2:15-cv-2883
         Plaintiffs
                                                  Hon. Judge Algenon L Marbley
  Vs.
                                                  Magistrate Judge Elizabeth P. Deavers
  Cleveland Ave Restaurant, et al

         Defendants



                     CONSENT JUDGMENT ENTRY RESOLVING
            PLAINTIFF'S MOTION TO ENFORCE SETTLEMENT AGREEMENT


         THIS MATTER comes before the Court upon Plaintiffs Motion to Enforce

  Settlement Agreement that was filed on September 29, 2020, as well as Plaintiffs Motion

  to Include Jasmine Briley in Bartender Settlement Payout filed on May 7, 2021. The
  parties represent that they have reached an agreement resolving all issues set forth in

  those Motions. The Court finds the parties' agreement to be fair and equitable.

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Jasmine Briley

   shall be included in the Bartender Settlement Payout in accordance with the terms of the

   Settlement Agreement.

          IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Selena Wells

   shall be included in the Entertainer Class in accordance with the terms of the Settlement

   Agreement.
Case: 2:15-cv-02883-ALM-EPD Doc #: 363 Filed: 03/31/22 Page: 2 of 3 PAGEID #: 3760




       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendants,
 Cleveland Ave Restaurant. Inc., d/b/a Sirens, Cleveland Avenue Cafe, Inc. d/b/a Sirens
 and their successors and assigns (collectively, "Sirens"), Francis Sharrak ("F. Sharrak")
 and Michael Sharrak ("M. Sharrak") shall deposit thesum ofEighty-Two Thousand, Eight
 Hundred Five Dollars ($82,805.00) into Plaintiffs' Counsel's escrow account on or before
 April 1, 2022 to bring current all of Defendants Sirens. M. Sharrak and F. Sharrak's
 (collectively "Defendants") obligations to the Entertainer Class under the Settlement

 Agreement.

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Class Counsel

 shall transfer the funds that Defendants pay on or before April 1,2022 to the Entertainer

 Claims Administrator, CAC Services Group, LLC. who. after payment of the Court-

 awarded attorney fees, litigation expenses, and incentive awards, shall distribute said

 remaining funds to Entertainer Class Members in accordance with Section 5 of the

 Settlement Agreement (including the Submission Payments).

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that, no later than April

 15, 2022, Defendants shall distribute the amount of funds due the Bartender Class, i.e.,

 $96,431.57, to the members of that Class (including Ms. Briley) in accordance with

 Section 4 of the Settlement Agreement.

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendants shall

 pay to the Entertainer Claims Administrator the sum of Eight Thousand Dollars

 ($8,000.00) into the Entertainer Claims Administrator's escrow account on or before the

 21st day of each month (beginning April 21, 2022) until a total of Six Hundred Thousand

 Dollars ($600,000.00) (minus the One Hundred Seventy-Nine Thousand, Two Hundred
Case: 2:15-cv-02883-ALM-EPD Doc #: 363 Filed: 03/31/22 Page: 3 of 3 PAGEID #: 3761




Thirty-Six and 57/100 Dollars ($179,236.57) acknowledged herein) has been deposited;

and the Entertainer Claims Administrator shall distribute such funds to Entertainer Class

Members in accordance with Section 5 of the Settlement Agreement.

           IT IS FURTHER ORDERED, ADJUDGED AND DECREED that, in the event that

Class Counsel obtains an injunction or settlement with another sexually oriented

 business as contemplated under Section 9(C) of the Settlement Agreement, Class

Counsel shall notify Defendants' counsel of record of same.

           IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Special Master

 Camillus is directed to submit an invoice to Defendants for the services he has rendered

 herein.


           IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendants shall

 pay the invoice submitted by Special Master Camillus within thirty (30) days of receipt of

 same.



           IT IS FURTHER ORDERED, ADJUDGED AND DECREED that, other than the

fees owed to Special Master Camillus, nothing herein shall increase Defendants' liability

 beyond the Six Hundred Thousand Dollars ($600,000.00) owed under the terms of the

 Settlement Agreement.

           IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiffs' Motion

 to Enforce Settlement Agreement is hereby denied without prejudice.

           IT IS SO ORDERED.




 ^.y. 3/3[/aa.
